
*540OPINION.
Love:
(1) The petitioner claims to have sustained a loss of $5,380.14 on the Seven Oil Co. venture. He acquired one-half of his brother’s one-seventh interest and claims that $70,000 was spent in the enterprise for both the lease and the development work, but the amount expended by each does not appear in the record. As the petitioner owned a one-fourteenth interest, his part of that expenditure was $5,000, which was a loss to him, and as the enterprise was abandoned in 1919, it constituted a deductible loss in that year.
(2) The petitioner is entitled to deduct $2,652 as his share of the operating expense of the Crowell-Willis Co.
(3) Petitioner’s automobile was used by him primarily and principally in his oil and gas business, in transporting him from Wichita Falls to the oil fields and over the field to the several wells which his company was operating, and such traveling was a necessary incident to his business. Hence he is entitled to deduct depreciation *541and the amounts paid for operating the car as ordinary and necessary expenses. He spent $498.64 in maintaining the car and claimed $501.36 as depreciation, which amount is reasonable and should be deducted from gross income.
(4) There is not sufficient evidence to enable us to find the amount of depreciation on the oil well equipment, and we therefore can not disturb the respondent’s determination in respect to that item.

Judgment will he entered on 15 days' notice, under Rule 50.

